     Case 2:13-cr-00008-WFN    ECF No. 3632   filed 04/22/15     PageID.27612 Page 1 of 2




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 5                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7 UNITED STATES OF AMERICA,
                                                           No.   2:13-CR-0008-WFN-34
 8                            Plaintiff,
 9         -vs-                                            ORDER
10 MERCEDES LASHAWN REEVES,
11                            Defendant.
12
13         A motion hearing was held on April 21, 2015. Defendant was present, not in
14   custody, and was represented by Jeffrey Niesen; Assistant United States Attorneys
15   Stephanie Van Marter and Russell Smoot represented the Government; United States
16   Probation Officer Charles Kuipers was also present.
17         The Court indicated that while the allegations were sufficient to require Defendant
18   to be taken into custody today, she will be permitted to self-report as initially ordered.
19   However, to remove the ankle bracelet, Defendant must provide a detailed travel plan to
20   her supervising Probation Officer. The Court has reviewed the file and the parties' Motion
21   and is fully informed. Accordingly,
22         IT IS ORDERED that:
23         1. Defendant’s Motion for Modification of Release, filed April 16, 2015, ECF
24   No. 3611, is GRANTED. Defendant shall report to the United States Probation Office on
25   May 1, 2015, after 1:00 p.m., but before the close of business for removal of her ankle
26   bracelet.
27         2. The ankle bracelet shall only be removed AFTER her supervising Probation
28   Officer approves of her travel plans. Defendant shall provide all information and


     ORDER - 1
     Case 2:13-cr-00008-WFN        ECF No. 3632   filed 04/22/15   PageID.27613 Page 2 of 2




 1   documentation that Probation Officer Kuipers requires to approve of her travel plans no
 2   later than April 28, 2015. If the information is not provided, Defendant's ankle bracelet
 3   shall not be removed and she will be required to self-surrender in this district.
 4              3. The Government's Motion to Revoke Release, filed April 16, 2015, ECF
 5   No. 3613, is DENIED.
 6              4. The parties' Motions to Expedite, ECF Nos. 3612 and 3614, are GRANTED.
 7   The underlying Motions were considered on an expedited basis.
 8              The District Court Executive is directed to file this Order and provide copies to
 9   counsel AND TO Probation Officer Charles Kuipers.
10              DATED this 22nd day of April, 2015.
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12                                                 s/ Wm. Fremming Nielsen
13                                                   WM. FREMMING NIELSEN
     04-21-15                                 SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
